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                            UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF HAWAII

   In re Subpoena                                )   Case No.: 1:23-cv-00426-JMS-WRP
                                                 )   (Copyright)
   Internet subscribers of Cox                   )
   Communications, LLC and CoxCom                )   PETITIONERS’ RESPONSE TO
   LLC                                           )   DECLARATION OF AMBER
                                                 )   HALL; CERTIFICATE OF SERVICE
                                                 )
                                                 )
                                                 )
                                                 )

      PETITIONERS’ RESPONSE TO DECLARATION OF AMBER HALL

             Cox failed to “file appropriate evidentiary proof that it is…an internet service

  provider under 17 U.S.C. § 512(a)…” as ordered by the Court. Order [Doc. #26],

  p.3. Rather, Cox merely submitted a three-page declaration of Amber Hall (“Ms.

  Hall”) replete with legal conclusions and devoid of any facts besides her job title and

  the relationship between Cox Communications, Inc. and CGI Corporate Services,

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  LLC. As shown below, paragraph 4 of Ms. Hall’s declaration merely parrots the

  language of 17 U.S.C. § 512(a):

   Paragraph 4 of Decl. of Amber Hall              §512(a) excerpt
   [Doc. #29]
   Cox, as an Internet service provider, is        A service provider … transmitting,
   engaged in transmitting, routing, or            routing, or providing connections for,
   providing connections for, material             material through a system or network
   through its system and network only             controlled or operated by or for the
   under the following conditions, and             service provider, or by reason of the
   does not engage in any intermediate or          intermediate and transient storage of
   transient storage of such material              that material in the course of such
   except under the following conditions:          transmitting, routing, or providing
                                                   connections, if—
   (1) the transmission of the material was        (1) the transmission of the material was
   initiated by or at the direction of a           initiated by or at the direction of a
   person other than Cox;                          person other than the service provider;
   (2) the transmission, routing, provision        (2) the transmission, routing, provision
   of connections, or storage is carried out       of connections, or storage is carried out
   through an automatic technical process          through an automatic technical process
   without selection of the material by            without selection of the material by the
   Cox;                                            service provider;
   (3) Cox does not select the recipients of       (3) the service provider does not select
   the material except as an automatic             the recipients of the material except as
   response to the request of another              an automatic response to the request of
   person;                                         another person;
   (4) no copy of the material made by             (4) no copy of the material made by the
   Cox in the course of such intermediate          service provider in the course of such
   or transient storage is maintained on           intermediate or transient storage is
   the system or network in a manner               maintained on the system or network in
   ordinarily accessible to anyone other           a manner ordinarily accessible to
   than anticipated recipients, and no such        anyone other than anticipated
   copy is maintained on the system or             recipients, and no such copy is
   network in a manner ordinarily                  maintained on the system or network in
   accessible to such anticipated                  a manner ordinarily accessible to such
   recipients for a longer period than is          anticipated recipients for a longer
   reasonably necessary for the                    period than is reasonably necessary for
   transmission, routing, or provision of

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   connections; and                                 the transmission, routing, or provision
   (5) the material is transmitted through          of connections; and
   the system or network without                    (5) the material is transmitted through
   modification of its content.                     the system or network without
                                                    modification of its content.



             Ms. Hall’s declaration is devoid of any facts supporting a conclusion that Cox

  is a conduit provider per §512(a). For example, Ms. Hall does not describe how long

  Cox maintains copies of material – a key factor for determining whether Cox

  maintained a copy for a period not longer than reasonably necessary for the

  transmission, routing, or provision of connections in compliance with §512(a)(4).

  See Ellison v. Robertson, 357 F.3d 1072, 1081 (9th Cir. 2004) (affirming District

  Court’s conclusion that the limited period of days AOL stored infringing material

  satisfied § 512(a)).       Ms. Hall also fails to provide any facts reconciling her

  declaration that “(5) the material is transmitted through the system or network

  without modification of its content”, Decl. of Hall at ¶4, with Cox’s public

  disclosures that it scans incoming email traffic to filter out spam and blocks access

  to certain websites with her statement that. See

  “Your Privacy Rights as a COX Customer and Related Information Notice to Cox

  Residential Customers - Email and Online Communications”, June 15, 2023,

  https://www.cox.com/aboutus/policies/annual-privacy-notice.html#security               [last

  accessed on 12/4/2023] (“we generally scan incoming and outgoing email traffic

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  electronically to identify and filter likely spam and malicious email...”); see also Cox

  Internet Service Disclosures - C. Network Practices, Aug. 11, 2023,

  https://www.cox.com/aboutus/policies/internet-service-disclosures.html              [last

  accessed on 12/4/2023] (Cox describes blocking of botnets, viruses, phishing sites,

  malware, and certain ports). Even one of the only two facts Ms. Hall does disclose,

  that she is employed as Chief Compliance and Privacy Officer, fails to establish any

  foundation for her legal conclusion. This type of position (in comparison to Chief

  Technology or Information Officer) does not imply the level of detailed

  understanding of the technical workings of data packet flow through Cox’s network

  supportive of her legal conclusions. Ms. Hall’s declaration is an example of

  “[c]onclusory affidavits that do not affirmatively show personal knowledge of

  specific facts” that the Ninth Circuit has deemed “insufficient”. Shakur v. Schriro,

  514 F.3d 878, 889-90 (9th Cir. 2008) (Ninth Circuit criticized District Court’s

  reliance on affidavit of employee commenting on different area from which she

  specialized (“Pastoral Administrator rather than an official specializing in food

  service or procurement”)). Accordingly, Cox has failed to provide any evidentiary

  proof that it is a conduit per § 512(a)).

             Ms. Hall’s declaration also violates L.R. 7.5, which requires that “Affidavits

  and declarations shall contain only facts, shall conform to the requirements of Fed.

  R. Civ. P. 56(c)(4) and 28 U.S.C. § 1746, and shall avoid conclusions and argument.”

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  The only facts in Ms. Hall’s declaration are the relationship between Cox

  Communications, Inc. and CGI Corporate Services, LLC and her job title. Courts

  routinely refuse to consider legal conclusions in declarations such as Ms. Hall’s. See

  Travelers Cas. & Sur. Co. of Am. v. Brenneke, 551 F.3d 1132, 1136 n.2 (9th Cir.

  2009) (rejecting declaration that contained only mere legal conclusions); Turner v.

  Haw. First, Inc., 903 F. Supp. 2d 1037, 1048 n.11 (D. Haw. 2012) (“Mr. Turner's

  declaration also includes repeated legal and factual conclusions…The Court is not

  obliged to credit these conclusory statements, and does not do so.”); United States

  v. Novelli, 381 F. Supp. 2d 1125, 1131 (C.D. Cal. 2005) (“To the extent that any of

  the contents of these declarations are legal conclusions, they will not be considered

  by the Court”); Persian Gulf Inc. v. BP W. Coast Prods. LLC, 632 F. Supp. 3d 1108,

  1131 (S.D. Cal. 2022) (“the Court has considered the admissible factual evidence

  but disregarded the improper legal conclusions…”).         Accordingly, Petitioners

  respectfully request the Court to not consider enumerated paragraph 4 of Ms. Hall’s

  declaration that are mere legal conclusions.

             Assuming arguendo that the Court considers the legal conclusions in Ms.

  Hall’s declaration, Petitioners point out that Cox failed to provide evidence refuting

  Petitioners’ arguments that Cox provides additional services to its subscribers

  besides the conduit features described in §512(a) such as providing IP addresses for



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  subscribers and hotspot routers for public WiFi in subscriber homes. Petitioners

  maintain the other arguments in their objections [Doc. #10] to the F&R.

  Conclusion

             Cox’s declaration of Ms. Hall fails to provide evidence that it is a conduit

  pursuant to §512(a). Accordingly, Petitioners respectfully request that the Court

  sustain their objections, reject the F&R and overrule Doe’s objection to the

  subpoena. Alternatively, Petitioners request that the Court only partially quash the

  subpoena with respect to Doe’s identification information so that Petitioners can

  proceed with legal relief against infringers of their Works discovered in response to

  the subpoena.



             DATED: Kailua-Kona, Hawaii, December 5, 2023.


                                      CULPEPPER IP, LLLC


                                      /s/ Kerry S. Culpepper
                                      Kerry S. Culpepper
                                      Attorney for Petitioners




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